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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                             )
RUTH WILCOX,                                 )
                                             )   Case No.: 1:19-cv-02535-RDB
               Plaintiff,                    )
                                             )
               v.                            )
                                             )
SERVIS ONE, INC. d/b/a BSI                   )
FINANCIAL SERVICES, et al.,                  )
                                             )
               Defendants.                   )
                                             )

                                   ORDER & JUDGMENT

        Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Plaintiff Ruth Wilcox has

accepted the offer from Defendants Servis One, Inc. d/b/a BSI Financial Services (“BSI”) and

Wilmington Savings Fund Society, FSB, Not in Its Individual Capacity but Solely as Trustee for

Brougham Fund I Trust (“Brougham Fund”) to allow judgment to taken against them for all

claims presented in this action by the Plaintiff1 (ECF. #112). Accordingly, it is this 1st day of

February, 2021 by the United States District Court for the District of Maryland, ORDERED

that:
           1. Judgment BE, and the same hereby IS, ENTERED in favor of Plaintiff Ruth Wilcox

               and against Defendants BSI and Brougham Fund in the amount of SEVENTY-

               FIVE THOUSAND DOLLARS ($75,000.00).

           2. Unless the Parties agree upon an additional amount of reasonable attorneys’ fees

               and costs to be paid to Ms. Wilcox in connection with Plaintiff’s prosecution of the

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         Those claims were brought under the: (i) the Maryland Consumer Debt Collection Act, MD
CODE, COMM. LAW, § 14-201 et seq. (“MCDCA”) and the Maryland Consumer Protection Act,
MD. CODE ANN. COM. LAW § 13-101 et. seq. (“MCPA”) (against both BSI and Brougham Fund);
(ii) the Real Estate Settlement Procedures Act, 12 U.S.C. § 2605 (“RESPA”) and its regulations
12 C.F.R. §§ 1024,36, 1024.35 (“Regulation X”)(against BSI only); and (iii) the Fair Credit
Reporting Act, 15 U.S.C §§ 1681, et seq., (“FCRA”)(against BSI only); (iv) common law breach
of contract (against both BSI and Brougham Fund); and (v) the Maryland Mortgage Fraud
Protection Act, MD. CODE ANN. REAL PROP. §§ 7-401, et. seq.
                                                 1
Case
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     Complaint against BSI and Brougham Fund Plaintiff, Ruth Wilcox shall file her

     motion for the award of reasonable attorneys’ fees and costs within fourteen (14)

     days of entry of this judgment pursuant to Local Rule 109.2.a and thereafter her

     memorandum required by Local Rule 109.2.b within thirty-five (35) days from the

     date the motion is filed.

  3. Defendant will pay post-judgment interest pursuant to 28 U.S.C. § 1961.

  4. The clerk will transmit a copy of this Order to counsel for the parties.

                                                         /s/
                                                   ______________________________
                                                   The Honorable Richard D. Bennett
                                                   District Judge




                                       2
